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                  A}'I.'II)AVI't IN SUPPORT OF CRIMINAL COMPLAIN'I'

I, David Nieto, being duly swom, depose and state:

I am employed as a Licensed Texas Peace Officer with the Houston Police Department in the

capacity ofa Senior Police Officer. I have been a Peace Officer for approximately 28 years. I

possess a Masters Peace   Officer Certification under the Texas Commission on Law Enforcement

Standards and Education. I am cunently assigned as a Task Force Officer on the Houston FBI

Child Exploitation Task Force (HCETF) that is tasked to investigate crimes involving sex

trafficking ofchildren. I have received numerous hours oftraining and education regarding the

offenders ofprostitution related offense and have worked side by side with similarly trained

Peace Officers and Federal Agencies during this time.     I have been   a Task Force   Officer on the

Houston Child Exploitation Task Force for approximately 12 years. I have investigated hundreds

ofcases involving human trafficking, including sex trafficking ofchildren, and sex trafficking of

adults. I have had specialized training in investigations ofchild sexual abuse, Domestic Sex

Trafficking, computer evidence handling and other police matters. Some ofthose courses

included Conferences on Human Trafficking, Interviewing and interrogation, Juvenile Forensic

Interviewing and Investigating, and Investigation ofsex crimes.

   1.   Sex trafficking as defined   in l8 U.S.C. g 1591 (a), is:

   (a) Whoever knowingly-
       (1) in or affecting interstate or foreign commerce, or within the special maritime and
       tenitorial jurisdiction ofthe United States, recruits, entices, harbors, transports, provides,
       obtains, or maintains by any means a person; or

        (2) benefits, financially or by receiving any.thing ofvalue, from participation in a venture
        which has engaged in an act described in violation ofparagraph (1),

        knowing, or in reckless disregard of the fact, that means offorce, threats of force, fraud,
        coercion described in subsection (e)(2), or any combination ofsuch means will be used to
        cause the person to engage in a commercial sex act, or that the person has not attained the
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     age   of   18 years and   will   be caused to engage in a commercial sex act, shall be punished
     as   provided in subsection (b).

2.   This Affidavit is made in support of a criminal complaint charging David MEARIS with

     violating 18 U.S.C. $ 1591(a), which makes it         a crime to   traffic children for the purpose

     of commercial sex.

3.   I am familiar with the information contained in this Affidavit         based upon the

     investigation I have personally conducted and records and evidence provided to me by

     the Texas Office of the Attomey General, and the Bellaire Police Department.

4.   Because this    Affidavit is being submitted for the limited purpose of securing a criminal

     complaint, I have not included each and every fact known to me concerning this

     investigation, I have set forth only those facts that I believe are necessary to establish

     probable cause that evidence ofan ongoing violation of 18 U.S.C. $ 1591(a) has been

     committed by David Wayne MEARIS, B/M, DOB 7ll/7 5, on or between July 21,2010

     through September 14,2017. Where statements of others are set forth in this Affidavit

     they are set forth in substance and in part.

5.   On February 28,2018.1, Officer David Nieto, received an assignment from my

     supervisor, John Wall, Police Sergeant with the Houston Police Department Vice

     Division, to conducted a follow up investigation on the Defendant David Wayne

     MEARIS, who was currently in the Harris County Jai[ for an incident involving

     Kidnapping and Trafficking a Child. I requested and obtained the police report for that

     incident (Inc# 170914-1299) from the arresting agency, Bellaire Police Department, and

     obtained the following details from the report. On September 14,2017 , Mearis and a

     female named Tiffany Danique GRAY BiF DOB 10123/92 (AKA Tiffany Collins) were

     both anested in in Bellaire, Texas, after a 15 year old female, hereafter referred to as



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     MV 1 , managed to escape from them and contact 91 1 for help. MV        I   stated she had been

     contacted online by GRAY and on8116117 she was picked up by MEARIS and GRAY

     who brought to their apartment in Orange, Texas where MEAzuS threatened, physically

     and sexually abused MV1, and held her against her     will. MV1 said MEARIS would beat
     and choke her. MV1 said MEARIS would give her pills she believed to be Xanex, before

     sexually abusing her.

6.   MV1 said MEARIS took her to a residence to have sex with        a   Mexican male (penetrating

     her vagina with his penis) and the Mexican male gave MEARIS an unknown amount               of
     money. MVI said MEARIS told her he has killed people before and told her he was a

     Blood gang member from Califomia. MV1 said MEARIS told her he had a 14 year old

     girl before and threatened to kill her and told her he could not let her go.

7.   I reviewed Houston Police report #1308873-16 and obtained the following details from

     that report. Officer Flowers with the Houston Police Department received a report from

     the Harris County Sheriffs Office regarding a sexual assault ofa 14 year old female,

     hereafter referred to as MV2, by MEARIS which occurred on July 8, 2016, at301

     Benmar Drive   #   188, Houston, Texas. Sergeant Lance Wright of the Texas Attomey

     General's Office contacted the Harris County Sheriff s Office after he received a report

     alleging MEARIS had sexually assaulted MV2 multiple times in Houston, Texas. MV2

     was a runaway at the time. The mother of a MV2 stated that she has spoken with her

     daughter, MV2, who told her she met MEARIS on a chat line called "mocospace". MV2

     said MEARIS told her he had a girlfriend that needed a someone to help her with her one

     month old baby. MV2 said once she was in MEARIS' apartment, he would not let her

     leave and threatened her with a gun.   MV2 said MEARIS had her        eat peanut butter




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     sandwiches to gain weight, as she was extremely skinny, so she could make money

     engaging in commercial sex. MV2 said MEARIS' girlfriend would go out to prostitute all

     day. According to the report MEARIS' girlfriend asked     MV2 if   she wanted to make

     money but MV2 left before she would be caused to engage in any commercial sex.

8.   On June 27 ,20181, along with FBI Special Agents Theo Witliams and Donnita Gordon, I

     interviewed Tiffany Danique GRAY (AKA Tiffany Collins), at the Harris County Jail.

     GRAY stated she first met MEARIS in 2009 in Orange, Texas when he was 35 and she

     was 15 years old. GRAY said MEARIS told her that they knew him in Califomia for

     pimping so he came to Orange, Texas. She said MEARIS knew she was l5 and still had

     sex with her. GRAY said MEARIS had a 28 year old girlfriend with him named Tresean

     Gray. She said MEARIS brought her and Tresean to Houston to pimp them. GRAY said

     MEARIS would put her on Backpage and take her to the Track to make money. GRAY

     said MEARIS once tied her legs to her arms and put a sock in her mouth. MEARIS then

     tied a shirt over the sock, and beat her. He then put a pillow over her head and cocked a

     gun and told her "Bitch    I'll kill you". GRAY said she has been beaten her whole life by

     MEARIS.      She said   MEARIS beat her about once   a week. She said he   would punch her

     with closed fists and give her black eyes. GRAY said she said also witnessed MEARIS

     beating his girlfriend Tresean.

9.   GRAY said her and Tresean worked lor MEARIS in Houston in 2009 and 2010. GRAY

     said MEARIS gave her rules like, she could not mess with black men because he said

     they were crazy and if she had sex with them, they would try to take their money back.

     She said   MEARIS would get mad if she didn't make any money. GRAY said she did not

     know anl.thing about prostitution before meeting MEARIS. She said MEARIS rode




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         around with her on Bissonnet and taught her everything. GRAY said Tresean eventually

         left MEARIS.

10.      GRAY said during the years she was with MEARIS, he wanted her to recruit girls for

         him. GRAY said she remembers recruiting five or six girls for MEARIS. GRAY said

         MEARIS had sex with her about once    a week and also had sex   with all the other girls.

         GRAY said she has a son from MEARIS.

1   1.   I found the following police reports corroborating GRAY's statement:

         712112010 HPD    ORI 1049896-10 GRAY and Tresean arrested in Houston for

         Prostitution,

         10/27-2010 HPD ORI 1524460-10 GRAY arrested in Houston for Prostitution.

         1211412011 HPD    ORI 1609637-11 GRAY arrested in Houston for Prostitution,

         1/2312013 HPD ORI 92203-13     MEARIS Failure to ID with GRAY listed in report,

         101912015   HPD ORI 1306648-15 MEARIS Charged with Compelling Prost with GRAY,

         10113116   HPD ORI 1308873-16 MEARIS Charged with Agg Sex Assault of l4 year old,

         12/12116 HPD    ORI 1575082-16 GRAY arrested in Houston for Prostitution, and

         0911412017 BPD    ORI 170914-1299 MEARIS and GRAY arrested lor Sex Trafficking.




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